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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 ALEXIS BRANCH and BARBARA                      )
 BRANCH, individually, and on                   )
 behalf of all others similarly situated,       )
                                                )
       Plaintiffs,                              )
                                                )    Cause No: 4:20-CV-00813-JAR
       vs.                                      )
                                                )
 THE CENTRAL TRUST BANK D/B/A                   )
 CENTRAL BANK,                                  )
                                                )
       Defendant.                               )


             NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       COME NOW Plaintiffs Alexis Branch and Barbara Branch by their undersigned counsel

and pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure hereby voluntarily

dismiss this matter without prejudice.


                                                    Respectfully submitted,

                                                    BUTSCH ROBERTS & ASSOCIATES LLC

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                                                  BRODY & CORNWELL

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                                                  Attorneys for Plaintiffs



                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served via the Court’s electronic filing system on June 24, 2020 to all counsel of record.

                                                  /s/ Christopher E. Roberts
